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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,   JOINT ADMINISTRATIVE MOTION TO FILE
                   21                                                  UNDER SEAL
                               v.
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;

                   24                                   Defendant.

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ATTORNEYS AT LAW
                                                                                          ADMIN. MOTION TO SEAL
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                    1           Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Plaintiffs Richard Kadrey, Sarah
                    2   Silverman, Christopher Golden, Ta-Nehisi Coates, Junot Diaz, Christopher Golden, Richard Greer,
                    3   David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson,
                    4   and Lysa TerKeurst (collectively, “Plaintiffs”) and Defendant Meta Platforms, Inc. (“Meta”)
                    5   (collectively, the “Parties”) respectfully request leave to file under seal Exhibit C to the Parties
                    6   Joint Letter Brief on Meta’s Motion to Compel re: Communications with Third Parties Regarding
                    7   the Discord Posts, Meta’s Privileged Information, or Plaintiffs’ Claims Against Meta (Dkt. 145).
                    8           Specifically, the Parties seek to seal an email from Thomas Heldrup to Plaintiffs’ counsel,
                    9   Matthew Butterick, titled “Books3 evidence (especially Discord)” dated September 28, 2023, Bates
                   10   numbered Plaintiff_Discord000022. As discussed below, this document was designated “Highly
                   11   Confidential   –    AEO”     by   Plaintiffs,   who   assert   work    product     protection   over
                   12   Plaintiff_Discord000022.     The Declaration of Aaron Cera and [Proposed] Order is filed
                   13   concurrently herewith, and the Parties refer the Court to the Joint Letter itself and the supporting
                   14   evidence attached thereto as further support for this administrative motion.
                   15   I.      LEGAL ARGUMENT
                   16           Though the presumption of public access to judicial proceedings and records is strong, it
                   17   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   18   treats documents “attached to dispositive motions differently from records [i.e., documents]
                   19   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   20   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   21   non-dispositive motions, such as the Parties’ Joint Letter, the “good cause” standard applies.
                   22   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   23   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   24   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                   25   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                   26   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                   27   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
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                    1            Plaintiff_Discord000022 was designated “Highly Confidential – AEO” by Plaintiffs under
                    2   the Stipulated Protective Order entered in this case (Dkt. 90). Plaintiffs assert work product
                    3   protection over the document and that they have not waived any protection. Plaintiffs further allege
                    4   that the material is subject to a pending dispute over privilege. Plaintiffs assert that
                    5   Plaintiff_Discord000022 was returned to Meta pursuant to the Court's Order dated August 22, 2024
                    6   (Dkt. 114), which is now being reviewed by Judge Chhabria (Dkt. 125). Meta does not agree with
                    7   these characterizations, but files this request in deference to Plaintiffs’ “AEO” designation while
                    8   the parties have an opportunity to discuss the designation.
                    9            The Parties have taken care to narrowly tailor this request. They have limited their request
                   10   to a single document attached as an exhibit to their Joint Letter Brief. The Joint Letter Brief itself
                   11   and other exhibits attached to it will still be accessible in the public record. Accordingly, the Parties’
                   12   sealing request is the least restrictive method of protecting Plaintiffs’ confidential information.
                   13   II.      CONCLUSION
                   14            Pursuant to Civil Local Rule 79-5, a copy of Plaintiff_Discord000022 accompanies this
                   15   Administrative Motion. For the foregoing reasons, the Parties request leave to file under seal
                   16   Exhibit C to the Joint Letter Brief on Meta’s Motion to Compel re: Communications with Third
                   17   Parties Regarding the Discord Posts, Meta’s Privileged Information, or Plaintiffs’ Claims Against
                   18   Meta.
                   19
                        Dated: September 12, 2024                                     COOLEY LLP
                   20

                   21                                                           By:       /s/ Kathleen Hartnett
                                                                                      Bobby Ghajar
                   22                                                                 Mark Weinstein
                                                                                      Kathleen Hartnett
                   23                                                                 Judd Lauter
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                   24                                                                 Colette Ghazarian

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                   26                                                                 Angela L. Dunning

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   PALO ALTO                                                                2                                  3:23-CV-03417-VC
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                    1   Dated: September 12, 2024                      JOSEPH SAVERI LAW FIRM, LLP
                    2

                    3                                            By:        /s/ Joseph R. Saveri
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                                                                       GREER, DAVID HENRY HWANG,
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                                                                       RACHEL LOUISE SNYDER, and
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                    1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)
                    2          I hereby attest that I obtained concurrence in the filing of this document from each of the
                    3   other signatories. I declare under penalty of perjury that the foregoing is true and correct.
                    4
                         Dated: September 12, 2024
                    5                                                         COOLEY LLP
                    6                                                          /s/ Kathleen Hartnett
                    7                                                         Attorneys for Defendant
                                                                              Meta Platforms, Inc.
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